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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND
                         (Greenbelt Division)


 KILMAR ARMANDO ABREGO
   GARCIA, et al.,

 Plaintiffs,
                                             No. 8:25-cv-00951-PX
                  v.

 KRISTI NOEM, Secretary of
   Homeland Security, et al.,

 Defendants


                 NOTICE OF EX PARTE SUBMISSION
      Defendants provide notice that earlier this evening Defendants

submitted a document to the Court ex parte and under seal.

                                     Respectfully submitted,

                                     Yaakov M. Roth
                                     Acting Assistant Attorney General
                                     Civil Division

                                     /s/ Drew Ensign
                                     Drew C. Ensign
                                     Deputy Assistant Attorney General
                                     Civil Division
                                     U.S. Department of Justice
                                     950 Pennsylvania Ave., NW
                                     Washington, DC 20530
                                     (202) 514-2000
                                     drew.c.ensign@usdoj.gov

                                     Ernesto Molina
                                     Deputy Director
      Dated: April 30, 2025          Office of Immigration Litigation

                                     Counsel for Defendants
